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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 24-22883-CV-WILLIAMS

  CARLOS BRITO,

         Plaintiff,

  v.

  PROLOGIS, L.P., et al.,

         Defendants.
                                                /

         ORDER OF REFERRAL AND NOTICE OF COURT PRACTICES IN ADA CASES

         THIS MATTER is before the Court sua sponte. Pursuant to 28 U.S.C. § 636 and the

  Magistrate Rules of the Local Rules for the Southern District of Florida, it is ORDERED AND

  ADJUDGED that all discovery disputes and non-dispositive pretrial motions are REFERRED to

  Magistrate Judge Jonathan Goodman. It is further ordered that the Parties shall adhere to the

  Federal Rules of Civil Procedure, the Local Rules for the Southern District of Florida, Judge

  Williams’ Court Practices and Procedures, and Judge Goodman’s Discovery Procedures. Judge

  Williams’ Court Practices and Procedures and Judge Goodman’s Discovery Procedures are

  available at the Court's website: https://www.flsd.uscourts.gov/content/judge-kathleen-m-williams

  and https://www.flsd.uscourts.gov/content/judge-jonathan-goodman.

         Additionally, the Court notes that the Complaint alleges violations by the Defendant of the

  Americans with Disabilities Act ("ADA"), codified at 42 U.S.C. §§ 12181 et seq. Accordingly, the

  Court orders the Parties to comply with the following requirements:

  A.     Verified Certificate of Counsel Regarding Any Prior Filings under the ADA

         1.       If counsel conducted a search of case filings in the records of the Clerk of the

  United States District Court for the Southern District of Florida to ascertain whether the Defendant

  or the Defendant’s property or website has ever been sued prior to the filing of this suit for any

  alleged violations of the ADA, counsel shall set forth the results of that search. If such a search
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  was not made prior to filing suit, counsel shall conduct a search of the records prior to responding

  to this order and indicate the results of that search;

          2.          If there has been a prior suit of the nature referred to in the above paragraph,

  counsel shall state the present status of that litigation if pending and, if not pending, the nature of

  the disposition (i.e., settlement, dismissal, etc.);

          3.          If there was such litigation and it was disposed of by settlement, counsel shall

  furnish to the Court specific details of the settlement, including any agreement for attorneys’ fees

  and costs, either known or ascertainable with reasonable inquiry. Copies of these documents

  shall be furnished with the response to this Order. Counsel shall also inform the Court whether

  the Defendant (and/or property and/or website owned by the Defendant and the subject matter of

  this suit) has complied with any settlement agreement and, if not, what actions Defendant must

  take to comply with the settlement agreement entered into in the prior litigation; and

          4.          If any efforts were taken by the parties to the prior litigation to enforce the terms of

  any settlement agreement entered into in any prior litigation, counsel shall describe these efforts.

  Specifically, counsel should indicate whether the owner made any of the necessary repairs to the

  property or website to try to bring it into compliance with the ADA, and if not, what efforts the

  parties in the prior litigation have taken to enforce the settlement agreement entered into in that

  prior litigation.

          5.          Plaintiff’s counsel shall file with the Clerk of the Court a verified response to this

  order WITHIN TEN (10) DAYS from the date of this order.

  B.      Joint Scheduling Report

          WITHIN TWENTY (20) DAYS from the date that the last Defendant responds to the

  Complaint, the Parties shall file a joint conference report and a joint proposed scheduling order,

  as required by S.D. Fla. Local Rule 16.1(b). As part of that filing, the Parties shall complete and

  submit the attached form proposing deadlines.

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  C.      Noncompliance with this Order and the Court’s rules

          Noncompliance with any provision of this Order, the Federal Rules of Civil Procedure, the

  Local    Rules,     or    this   Court’s    Practices    and     Procedures     (available     at:

  http://www.flsd.uscourts.gov/content/judge-kathleen-m-williams) may subject the offending Party

  to sanctions, including dismissal of this case. It is the duty of all counsel to take any and all

  actions necessary to comply with this Order, the aforementioned rules, and all Court orders.

          DONE AND ORDERED in Chambers in Miami, Florida on this 30th day of July, 2024.




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              CASE NO. XX-XXXXX-CV-WILLIAMS

  PARTY NAME,

         Plaintiff(s),

  v.

  PARTY NAME,

        Defendant(s).
  ___________________/

                          SCHEDULE JOINTLY PROPOSED BY THE PARTIES

         THIS MATTER is set for trial for the week of [Month, Day, Year]. The Parties propose to

  adhere to the following schedule:

         [Month, Day, Year]           The Parties shall furnish their initial disclosures pursuant to
                                      Fed. R. Civ. P. 26. The Parties are under a continuing
                                      obligation to furnish supplements within ten (10) days of
                                      receipt or other notice of new or revised information.


         [Month, Day, Year]           The Parties shall file motions to amend pleadings or join
                                      Parties.


         [Month, Day, Year]           Plaintiff(s) shall disclose experts, expert witness summaries
                                      and reports, as required by Federal Rule of Civil Procedure
                                      26(a)(2).


         [Month, Day, Year]           Defendant(s)    shall   disclose   experts,   expert   witness
                                      summaries and reports, as required by Federal Rule of Civil
                                      Procedure 26(a)(2).


         [Month, Day, Year]           The Parties shall exchange rebuttal expert witness
                                      summaries and reports, as required by Fed. R. Civ. P.
                                      26(a)(2).

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        [Month, Day, Year]            The Parties shall complete all discovery, including expert
                                      discovery.


        [Month, Day, Year]            The Parties shall complete mediation and file a mediation
                                      report with the Court.


        [Month, Day, Year]            The Parties shall file all dispositive pre-trial motions and

                                      memoranda of law. The Parties shall also file any motions

                                      to strike or exclude expert testimony, whether based on Fed.

                                      R. Evid. 702 and Daubert v. Merrell Dow Pharmaceuticals,

                                      Inc., 509 U.S. 579 (1993), or any another basis.



        [Month, Day, Year]            The Parties shall each file one motion in limine. All motions
                                      in limine must be filed at least six (6) weeks before Calendar
                                      Call.


        [Month, Day, Year]            The Parties shall file their joint pretrial stipulation, witness
                                      lists, and exhibit lists in accordance with Local Rule 16.1(d)
                                      and (e). The Parties shall also file proposed jury instructions
                                      and a proposed verdict form, or statement of fact and
                                      conclusions of law (for non-jury trials).


        [Month, Day, Year]            The Parties shall submit their deposition designations.


  By:          [Attorney(s) for Plaintiff(s)]           [Attorney(s) for Defendant(s)]




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